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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


 VICKY WEBER,                                     )
                                                  )
                         Plaintiff,               )
                                                  )
 vs.                                              )   Case No. 18-1411-SMY-RJD
                                                  )
 TAYLER WAYNE and                                 )
 SWIFT TRANSPORTATION CO. of                      )
 ARIZONA, LLC,                                    )
                                                  )
                         Defendants.              )

                              JUDGMENT IN A CIVIL ACTION

        IT IS HEREBY ORDERED AND ADJUDGED that, having been advised by the parties

that all claims in this matter have been settled or otherwise resolved, Plaintiff’s claims against the

Defendants are DISMISSED with prejudice. Accordingly, the Clerk of Court is DIRECTED to

close this case.



DATED: May 15, 2019                          MARGARET M. ROBERTIE,
                                             Clerk of Court

                                             By: s/ Stacie Hurst, Deputy Clerk


Approved:



                   STACI M. YANDLE
                   DISTRICT JUDGE
